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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


    IN RE: TIKTOK, INC. CONSUMER                          MDL No. 2948
    PRIVACY LITIGATION
                                                          Master Docket No. 20 C 4699


                                                          Judge John Z. Lee

    This Document Relates to All Cases                    Magistrate Judge Sunil R. Harjani



                 OBJECTION OF BRIAN BEHNKEN AND JOSHUA DUGAN
                     TO PROPOSED CLASS ACTION SETTLEMENT

I.       Introduction

         This Court should deny preliminary approval of the Settlement Agreement 1 because its

terms and the proposed notice plan violate Rule 23 of the Federal Rules of Civil Procedure

(hereinafter “Rule”) and Due Process. In addition to the reasons set forth by previous objectors 2,

the proposed settlement is procedurally unfair because its burdensome opt-out requirements violate

due process. Moreover, the proposed settlement (“Proposed Settlement”) is invalidated by the

Federal Arbitration Act (“FAA”) and Illinois law to the extent it would alter the provisions of the

forced mandatory individual arbitration provision TikTok included in its Terms of Service with

every user.




1
  “Settlement Agreement” refers to the Settlement Agreement and Release filed in connection with Plaintiffs’
Motion for Preliminary Approval of Class Action Settlement filed on February 25, 2021. See Doc. #122.
2
  Objectors Brian Behnken and Joshua Dugas hereby adopt the objections set forth in the briefs filed by Objectors
Dennis Litteken and Mark S., as Parent and Legal Guardian of His Minor Son, A.S., In Re: TikTok, Inc., Consumer
Privacy Litigation, Case No.: 1:20-cv-04699 Document Nos. 126 and 132.
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         The objectors, Brian Behnken and Joshua Dugan 3, and 957 4 other individuals (“Arbitration

Claimants”) are Illinois resident TikTok users who uploaded TikTok’s of themselves while,

unbeknownst to them, TikTok was surreptitiously collecting and sharing their biometric data in

violation of Illinois’ Biometric Information Privacy Act, 740 ILCS 14/1, et seq. Like all other

TikTok users, Arbitration Claimants agreed to a mandatory individual arbitration provision with a

class waiver when signing-up for the TikTok app. In accordance with TikTok’s Terms of Service 5,

the Arbitration Claimants notified TikTok of their claims under BIPA and intention to resolve

them in arbitration if a satisfactory resolution cannot be reached. 6 The objectors, and the other

Arbitration Claimants, are members of the Proposed Class.

         Under the terms of the Proposed Settlement’s opt-out procedures, Arbitration Claimants

and any other class members who seek to be excluded from the settlement will find it challenging,

if not impossible, to opt-out and pursue arbitration. This is because although TikTok is used

entirely online – and the proposed notice plan would have class members opt-in online – any class

member who wishes to opt-out must individually mail a handwritten letter signed by the person

seeking exclusion.” 7 Further, Arbitration Claimants and proposed class members are prohibited

from “mass” or “class” opting out through counsel. 8


3
  Objectors Brian Behnken and Joshua Dugan will provide Rule 23 notices on or before final approval should they
not be permitted to opt-out in connection with this filing.
4
  Each Arbitration Claimant individually retained Labaton Sucharow LLP, as undersigned counsel, to represent them
in connection with their claims. Labaton Sucharow LLP is an experienced class action litigation firm with more
than 65 lawyers and offices in New York, Delaware, and Washington D.C. It regularly represents consumers in
class actions, including as one of three firms that recently obtained a $650 million settlement on behalf of a class of
1.6 million Illinois residents in In re Facebook Biometric Information Privacy Litigation., Case No. 15-cv-03747
(N.D. Cal.).
5
  A copy of TikTok’s Terms of Service is attached hereto as Exhibit A.
6
  See Redacted Notice of Claims Letter, attached hereto as Exhibit B.
7
  See, e.g., Doc. #122-1 (Exhibit A – Settlement Agreement) (“For a Request for Exclusion to be considered by the
Court, it must set forth: (i) the name of the Action; (ii) the person’s or entity’s full name, address, email address and
telephone number; (iii) a specific statement of the person’s or entity’s intention to be excluded from the Settlement;
(iv) the identity of the person’s or entity’s counsel, if represented; and (v) the person’s or entity’s authorized
representative’s signature and the date on which the request was signed.”) (emphasis added).
8
  Id. (“So called ‘mass’ or ‘class’ opt-outs shall not be allowed.”) (emphasis added).
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          Arbitration Claimants respectfully request this Court deny preliminary approval of the

Settlement Agreement or, in the alternative, either modify the proposed class definitions to exclude

Arbitration Claimants or allow the Arbitration Claimants to opt-out through counsel and other

class members seeking to be excluded to do so online.

II.       TikTok’s Terms of Service Require Arbitration of Individual Claims

          TikTok’s relationship with its users is governed by its Terms of Service. 9 All TikTok users

who create a TikTok account (and all members of the Proposed Settlement Classes) agree to the

Terms of Service. 10 The Terms of Service are binding on the user and TikTok. It is undisputed

that the Arbitration Claimants are bound by TikTok’s arbitration agreement, the very avenue that

they intend to use to pursue their claims. As TikTok has repeatedly argued in putative class actions

filed throughout the United States, all users (including all members of the Proposed Settlement

Classes) who create an account with the video sharing app, TikTok, agree to TikTok’s Terms of

Service.

          The Terms of Service contain a mandatory, individual arbitration clause with a class action

waiver:

          ARBITRATION NOTICE FOR USERS IN THE UNITED STATES: THESE
          TERMS CONTAIN AN ARBITRATION CLAUSE AND A WAIVER OF
          RIGHTS TO BRING A CLASS ACTION AGAINST US. EXCEPT FOR
          CERTAIN TYPES OF DISPUTES MENTIONED IN THAT ARBITRATION
          CLAUSE, YOU AND TIKTOK AGREE THAT DISPUTES BETWEEN US
          WILL BE RESOLVED BY MANDATORY BINDING ARBITRATION, AND
          YOU AND TIKTOK WAIVE ANY RIGHT TO PARTICIPATE IN A CLASS-
          ACTION LAWSUIT OR CLASS-WIDE ARBITRATION. Id.

          The arbitration clause, which is expressly subject to the Federal Arbitration Act, 9 U.S.C.

§2 (hereinafter “FAA”) 11, applies to all disputes, except claims brought in small claims court or


9
  See Exhibit A.
10
   Id.
11
   Id.
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claims made by TikTok related to infringement of its intellectual property or unauthorized access

to its services, including “any dispute relating to the interpretation, applicability,

unconscionability, arbitrability, enforceability, or formation of this arbitration agreement,

including any claim that all or any part of this arbitration agreement is void or voidable.” 12 Only

claims that are not subject to binding individual arbitration grant exclusive jurisdiction to this

Court. 13

         As instructed by TikTok’s Terms of Service, before initiating arbitration, either party must

first attempt to resolve the claim informally. If no resolution is reached, either party can initiate

arbitration before the American Arbitration Association (“AAA”), one of the nation’s largest

arbitration providers. Customers can notify TikTok of their intention to commence arbitration by

sending an email to legal@tiktok.com. The Arbitration Claimants have complied with TikTok’s

Terms of Service by notifying TikTok via email on March 31, 2021 of their claims under BIPA

and intention to initiate arbitration should TikTok decline to resolve their disputes. 14

         The Terms of Service incorporate AAA’s Supplementary Procedures for Consumer-

Related Disputes. 15       While AAA consumer arbitration ordinarily requires each individual

consumer to pay a $100 filing fee (or less depending on how many claimants are filing individual

arbitrations 16), TikTok will “reimburse those fees for claims where the amount in dispute is less

than $10,000.” Id. at Section 11. TikTok also pays any additional filing, case management, and

arbitrator fees, totaling at least $3,200 per claimant. Id.; see also Exhibit C.




12
   Id. at Section 11.
13
   Id.
14
   See Exhibit B.
15
   See Exhibit A. at Section 11.
16
   Recently, AAA has reduced the filing fee for individual claimants in cases where hundreds of claimants are filing
individual arbitrations against the same defendant. See
https://www.adr.org/sites/default/files/Consumer_Fee_Schedule_2.pdf attached hereto as Exhibit C.
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         AAA arbitrations have due process protocols, including a right to be represented by

counsel, discovery procedures, the right to an in-person hearing and to have any proceeding

conducted at a location convenient to the consumer, and a neutral arbitrator selected jointly by the

parties. See Exhibit C.

         TikTok has repeatedly told courts, including this Court, that it intends to enforce the

arbitration provision against class action litigation: 17

         Even if Plaintiffs could state a claim, those claims are subject to an arbitration
         and class action waiver agreement that would preclude this class action. The
         Objector incorrectly argues that minors are not bound by arbitration agreements
         and class action waivers. While minors may have the right under some state laws
         to disaffirm contracts made before the age of majority, those contracts are valid and
         binding until actual disaffirmance takes place. See, e.g., Cal. Fam. Code § 6700 (“a
         minor may make a contract in the same manner as an adult, subject to the power of
         disaffirmance”); G.G. v. Valve Corp., No. 16-1941, 2017 WL 1210220, at *3 (W.D.
         Wash. Apr. 3, 2017) (granting motion to compel arbitration because minors were
         bound by arbitration agreement with defendant); C.M.D. ex rel. De Young v.
         Facebook, Inc., 621 F. App’x 488, 489 (9th Cir. 2015) (“By continuing to use
         facebook.com after bringing their action, Plaintiffs manifested an intention not to
         disaffirm the contract.”). And, “[i]f a minor cannot return the benefits obtained …
         then she is effectively precluded from disaffirming the contract in order to get back
         the consideration she has given.” I.C. ex rel. Solovsky v. Delta Galil USA, 135 F.
         Supp. 3d 196, 210 (S.D.N.Y. 2015) (minor plaintiff was “precluded from
         disaffirming the contract” where disaffirmance would “put her in a superior
         position than she would have occupied had she never entered the [contract]”);
         E.K.D. ex rel. Dawes v. Facebook, Inc., 885 F. Supp. 2d 894, 900 (S.D. Ill. 2012)
         (minor plaintiffs could not disaffirm the forum-selection clause in Facebook’s
         terms because they “have used and continue to use facebook.com”); Sheller ex rel.
         Sheller v. Frank’s Nursery & Crafts, Inc., 957 F. Supp. 150, 153 (N.D. Ill. 1997)
         (enforcing arbitration provision in contract against minors where minors had
         received the benefits of the contract). 18

                                                        ***

17
   After the Supreme Court’s decision in AT&T Mobility v. Concepcion, arbitration clauses in consumer contracts
are widely enforced, except in limited circumstances. 563 U.S. 333 (2011). Courts in this District routinely enforce
arbitration clauses contained in electronic agreements. See, e.g., Miracle-Pond v. Shutterfly, Inc., No. 19-cv 04722,
2020 U.S. Dist. LEXIS 86083, at *2 (N.D. Ill. May 15, 2020) (granting motion to compel arbitration and staying
class action where contract was formed with hyperlinked policies near a sign-in button); Johnson v. Uber Techs.,
Inc., No. 16-cv-5468, 2018 U.S. Dist. LEXIS 161155, at *3-4 (N.D. Ill. Sep. 20, 2018) (same).
18
   See TikTok’s Statement in Support of Final Approval of Class Settlement and Opposition to Motion to Intervene
dated June 20, 2020 (ECF Doc. #34) filed in T.K., et al v. Bytedance Technology Co., Ltd, et al, Case No.: 1:19-CV-
07915 (N.D. IL), and attached hereto as Exhibit D at pp. 8-9.
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         “Defendant TikTok, Inc., the operator of the TikTok—Make Your Day app (“the
         App”) intends to file a motion to compel arbitration, as it believes Plaintiff agreed
         to arbitrate any claims arising from her use of the App. If any part of this action is
         not referred to arbitration, foreign defendants Beijing Bytedance Technology Co.,
         Ltd. and Musical.ly (“the Foreign Defendants”) will move to dismiss for lack of
         personal jurisdiction as the Foreign Defendants are not subject to personal
         jurisdiction in California because they are not incorporated here, they do not have
         their principal place of business here, and they do not operate the TikTok App.
         Similarly, while defendant Bytedance Inc. does have its headquarters in this
         District, this defendant is not a proper defendant in this action because it plays no
         role in the operation of the App. Plaintiff appears to have simply named every entity
         it could find with any corporate relationship to defendant TikTok, Inc. At a
         minimum, Plaintiff should drop all defendants but TikTok, Inc. from the amended
         complaint Plaintiff intends to file on May 11, 2020 to avoid wasting the Court’s
         and the parties’ resources on needless motion practice to resolve these issues.” 19

         On the very first page of their preliminary approval motion, Plaintiffs’ admit that they

faced “material risks” that this Court will grant TikTok’s anticipated motion to compel

arbitration with respect to non-minor users. 20 As Plaintiffs go on to state, the enforcement of the

arbitration clause is a significant risk for the class:


         First, TikTok has repeatedly asserted that Plaintiffs’ claims are subject to an
         arbitration and class action waiver agreement. According to TikTok, at all
         relevant times, every TikTok user agreed to an arbitration and class-waiver
         provision in the App’s Terms of Service (“Terms”). When users create their
         accounts in the App, they encounter a sign-in screen with hyperlinks to the Terms
         that read: “By continuing, you agree to TikTok’s Terms of Use and confirm that
         you have read TikTok’s Privacy Policy.” While Plaintiffs believe TikTok’s policies
         were not adequately presented or otherwise disclosed to its users, and that class
         members should not be bound by their provisions, Plaintiffs acknowledge that
         courts have consistently held that users were on notice of—and thus had agreed
         to—virtually identical disclosures. See, e.g., Miracle-Pond v. Shutterfly, Inc., No.
         19-cv 04722, 2020 U.S. Dist. LEXIS 86083, at *2 (N.D. Ill. May 15, 2020)
         (granting motion to compel arbitration and staying class action where contract was
         formed with hyperlinked policies near a sign-in button); Peter v. DoorDash, Inc.,
         No. 19-CV-06098-JST, --- F. Supp. 3d ---, 2020 WL 1967568, at *4 (N.D. Cal.

19
   See TikTok’s position asserted in the Joint Case Management Conference Statement dated April 22, 2020, (ECF
Doc. #30) filed in Hong v. ByteDance, Inc., A Corporation, et al, Case No.: MDL 2948) (N.D. Cal.), and attached
hereto as Exhibit E at pp. 2-3.
20
   See Plaintiffs’ Motion for Preliminary Approval of a Class Action Settlement in In Re: TikTok, Inc., Consumer
Privacy Litigation, Case No.: 1:2020-cv-04699 (N.D. IL), Document No. 122 (“Preliminary Approval Motion”).
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           Apr. 23, 2020) (same); Johnson v. Uber Techs., Inc., No. 16-cv-5468, 2018 U.S.
           Dist. LEXIS 161155, at *3-4 (N.D. Ill. Sep. 20, 2018) (same); Dohrmann v. Intuit,
           Inc., 823 F. App’x 482 (9th Cir. 2020) (reversing denial of motion to compel
           arbitration where website required acknowledgment of agreement before
           proceeding). 21


III.       TikTok Suddenly Reverses Course, Seeking A Class-Wide Release To Bar
           Enforcement Of The Same Mandatory Arbitration Clause It Imposed On
           Consumers.

           TikTok is now willing to waive its mandate to arbitration under the Settlement Agreement

(for purposes of settlement only, of course). But TikTok cannot avoid its obligations to arbitrate

or waive the Arbitration Claimants’ right to avoid the burdens of a class proceeding in court. It is

“the irony upon irony” that TikTok now “wishes to resort to a class-wide lawsuit, the very device

it denied to the [claimants], to avoid its duty to arbitrate.” Abernathy v. DoorDash, Inc., 438 F.

Supp. 3d 1062, 1068 (N.D. Cal. 2020).

           TikTok’s Terms of Service unequivocally state that all disputes must be resolved by

binding arbitration rather than in court. See Exhibit A (emphasis added). The only exceptions

are claims brought in small claims court or claims made by TikTok related to infringement of its

intellectual property or unauthorized access to its services. Id. In stark contrast to TikTok’s prior

assertions about the enforceability of its arbitration clause, TikTok now seeks to create a new

“settlement” exception that gives it the right to resolve disputes currently noticed to be arbitrated

through a class-wide settlement. No such exception exists. The Arbitration Claimants respectfully

request that this Court require TikTok to honor its Terms of Service and allow the Arbitration

Claimants to arbitrate their claims.




21
     Preliminary Approval Motion, at 4-5.
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IV.      The Opt-Out Procedure Violates Due Process

         In return for the steep discount on the valuable statutory claims possessed by a nearly 90-

million-member class, TikTok demanded an onerous set of requirements that burden the

Arbitration Claimants’ ability to opt-out and proceed with arbitration. As previously stated, the

Proposed Settlement Agreement’s provision requires users seeking to exercise their due process

right to opt-out to prepare and mail a timely letter to a P.O. Box in Pennsylvania that among other

things, identifies the action, provides full name, address email address and telephone number, and

includes a signature and the date it was signed – while the opt-in claim form is digital and submitted

online. 22 The terms of the opt-out provision specifically exclude “mass” or “class” opt-outs.

Courts routinely find these stringent opt-out provisions to be unfair and unduly burdensome. See,

e.g. Arena v. Intuit Inc., 2021 WL 834253, at *11 (N.D. Cal. Mar. 5, 2021).

         By inserting a clause that specifically excludes “mass” or “class” opt-outs, TikTok’s

motives are obvious: the Arbitration Claimants would not object to inclusion in a class settlement

if it offered an unimpeded choice to preserve their right to arbitration. Specifically, the Arbitration

Claimants would not object to the settlement if class members who individually retained counsel

could communicate their desire to opt out through counsel. Counsel can advise each client on how

to proceed regarding any settlement. If the Court allows the Arbitration Claimants to communicate

their opt-outs through their separately retained counsel, undersigned counsel will ask each

Arbitration Claimant to make an individual choice regarding whether to participate in the

settlement and then communicate that choice to the Court. But TikTok will never agree to those




22
   See, e.g., Doc. #122-1 (Exhibit A – Settlement Agreement) (“For a Request for Exclusion to be considered by the
Court, it must set forth: (i) the name of the Action; (ii) the person’s or entity’s full name, address, email address and
telephone number; (iii) a specific statement of the person’s or entity’s intention to be excluded from the Settlement;
(iv) the identity of the person’s or entity’s counsel, if represented; and (v) the person’s or entity’s authorized
representative’s signature and the date on which the request was signed.”) (emphasis added).
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terms because it is relying on a burdensome opt-out process to obstruct and confuse the Arbitration

Claimants into losing their rights without affirmative consent. That is the very process TikTok

promised by contract not to use. This Court should not endorse TikTok’s efforts to avoid its own

contract terms.

                                          ARGUMENT

   I.      The Settlement Is Invalidated By The Federal Arbitration Act Because It
           Abrogates Section 11 Of TikTok’s Terms of Service.

        The FAA states that agreements to arbitrate in any “contract evidencing a transaction

involving commerce . . . shall be valid, irrevocable, and enforceable.” 9 U.S.C. § 2. “The

overarching purpose of the FAA . . . is to ensure the enforcement of arbitration agreements

according to their terms so as to facilitate streamlined proceedings.” AT&T Mobility LLC v.

Concepcion, 563 U.S. 333, 344 (2011).          This “liberal federal policy favoring arbitration

agreements” applies “notwithstanding any state substantive or procedural policies to the contrary.”

Id. at 346 (quotation marks omitted). It “preempts any state rule discriminating on its face against

arbitration,” including state law that is facially discriminatory, or “any [state] rule that covertly

accomplishes the same objective by disfavoring contracts that (oh so coincidentally) have the same

defining features of arbitration agreements.” Kindred Nursing Centers L.P. v. Clark, 137 S.Ct.

1421, 1426 (2007). The FAA “rests on the authority of Congress to enact substantive rules under

the Commerce Clause,” Southland Corp. v. Keating, 465 U.S. 1, 11 (1984), and the “substantive”

rights derived by the FAA are directly enforceable in both federal and state courts. Perry v.

Thomas, 482 U.S. 483, 489 (1987). The FAA applies to any arbitration agreement that is “written”

and in a contract “evidencing a transaction involving commerce.” 9 U.S.C. § 2.

        The FAA applies to a class action settlement. “[T]he FAA does not authorize a district

court to enjoin arbitration” and the claimant’s “contractual and statutory right to arbitrate may not
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be sacrificed on the altar of efficient class action management.” In re Piper Funds, Inc. Inst. Gov’t

Income Portfolio Litig, 71 F.3d 298, 302-03 (8th Cir. 1995). Piper Funds is instructive. There,

the court reversed a temporary injunction against a pending arbitration entered into in the context

of a proposed class action settlement, finding that it “significantly frustrated [claimant’s]

contractual rights [to arbitrate], as protected by the FAA.” Id. Courts throughout the country have

followed Piper in applying the FAA to class action settlements involving claims governed by an

arbitration agreement. See Ahlbrand v. Keeley, 1998 WL 2001152, at *1 (Mich. App. Jan. 9, 1998)

(granting class member opt-out of class to pursue arbitration because “the declaration filed . . .

demonstrates a clear intent to choose arbitration over participation in the class action”) (citing

Piper); Arnold v. DirectTV, Inc., 2012 WL 266452, at *2 (E.D. Mo. 2012) (finding that the FAA

prohibits courts from enjoining arbitration in class action proceedings) (citing Piper); but see Stott

v. Capital Financial Services, Inc., 277 F.R.D. 316, 341 (N.D. Tex. 2011) (“If the Court were

considering a non-“limited fund” settlement that provided class members the ability to opt out, the

Court would not be willing to sacrifice individual class members’ contractual right to arbitrate

upon the altar of efficient class action management.”) (internal quotation omitted).

           Illinois Courts agree with Piper.          “A court may not authorize notice to individuals

whom the court has been shown entered mutual arbitration agreements waiving their right
                             23
to join the action.”              Bigger v. Facebook, Inc., No. 19-1944 (7th Cir. 2020). Bigger is

authoritative. In Bigger, the United States Court of Appeals for the Seventh Circuit was asked to

resolve the issue as to whether employees who signed a valid arbitration provision were required

to receive notice of a collective action. Since employees who signed arbitration provisions waived

their right to “join the action” – thus becoming ineligible - the Court found that notice to those



23
     Bigger v. Facebook, Inc., No. 19-1944 (7th Cir. 2020) attached hereto as Exhibit G.
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individuals is not authorized because it would only cause confusion and “prompt futile attempts at

joinder.” Id.

          The opt-out procedures contained in the Proposed Settlement are also invalidated by the

FAA to the extent they impose burdens on arbitration not found in the Terms of Service. The

Terms of Service require customers seeking to arbitrate to first attempt to resolve the claim

informally and to then notify TikTok’s legal department via email if they wish to commence

arbitration. They do not require consumers to individually mail a wet-ink form to a P.O. Box in

Pennsylvania, especially when they are represented by counsel. That would be absurd, since

TikTok’s business is conducted entirely online, and counter-productive, since TikTok wants to

make it as easy as possible for customers to resolve disputes with it though the Terms of Service.

Having agreed with consumers to resolve disputes informally or through arbitration within the

framework established by the FAA, TikTok cannot impose additional requirements not found

within the Terms of Service as part of a class action settlement. Piper Funds, 71 F.3d at 302-03.

    II.      The Onerous Opt-Out Procedure Insulates TikTok from Its Arbitration
             Provision and Violates Due Process.

          Opt-out rights in class settlements are evaluated as a matter of due process. Philips

Petroleum Co. v. Shutts, 472 U.S. 797, 812 n.3 (1985). Courts routinely find that the class action

opt-out provisions that impose the same “wet-ink” signature and mail-in form procedures in the

Settlement are unduly burdensome. See, e.g., Abernathy, 438 F. Supp. 3d 1062, 1067 (N.D. Cal

2020) (wet ink signature requirement was “an obvious attempt to make it as hard as possible for

petitioner to opt out, thus binding them to the settlement”); In re MyFord Touch Consumer

Litigation, 2018 WL 10539267, at *1 (N.D. Cal. June 7, 2018) (denying preliminary approval of

settlement because “[I]s there a reason to require a claimant seeking this relief to submit a physical

signature rather than an electronic attestation?”); Knight v. Concentrix Corp., 2019 WL 3503052,
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at *6 (N.D. Cal. Aug. 1, 2019) (rejecting argument that purported class member must opt-in via

wet ink signature because “documents are routinely sent and signed electronically”).

           Recently, the United States District Court for the Northern District of California denied

preliminary approval of a class action settlement with the very same opt-out requirements in a

similar context in the ongoing Intuit consumer litigation. Arena v. Intuit, 2021 WL 83425, at *10

(N.D. Cal. March 5, 2021). Intuit, a major provider of tax filing software and services, spent years

steering consumers towards paid tax filing software that cost approximately $100 per year while

failing to adequately disclose the existence of free software for low-income and servicemember

customers. Intuit’s terms of service with customers contained a mandatory individual arbitration

clause, and the company successfully moved to compel arbitration of the class action. Id., see also

Dohrmann v. Intuit, Inc., 823 F. App’x 482 (9th Cir. 2020) (reversing denial of motion to compel

arbitration). Intuit is cited by Plaintiffs’ in their motion for preliminary approval as justification

for why the arbitration clause presents “material risks” to prosecution of this case as a class

action. 24

           When thousands of consumers attempted to enforce their right to arbitrate, Intuit reached

a class action settlement with the same class plaintiffs it had previously compelled to arbitration.

This settlement included an injunction against arbitrations and a requirement that class members

comply with burdensome opt-out procedures. The judge refused to grant preliminary approval,

finding the settlement did not meet basic standards of fairness, reasonableness, or adequacy. With

respect to the opt-out requirements, Judge Charles R. Breyer stated:

           The Court concludes that the opt out requirements in the proposed settlement are
           unduly burdensome given the unique circumstances of this litigation . . . requiring
           these class members to opt out by mailing a hard copy letter with a “wet-ink”
           signature serves little purpose but to burden those who wish to opt out. In a world
           where Intuit can not only administer settlement claims electronically, but also

24
     Motion for Preliminary Approval, at 1.
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         facilitate safe, legal tax-filing electronically, Intuit can assuredly process opt outs
         electronically. If electronic signatures are enough for Intuit and the IRS during tax
         season, they should be enough for Intuit here. Id.

         Like in Intuit, TikTok has no problem with users downloading and using TikTok, accepting

the Terms of Service, or accepting claims electronically. 25 To require class members to opt-out

using a “wet-ink” signature on a mail-in form that is not even provided to them “serve[s] little

purpose but to burden those who wish to opt out.” Intuit, 2021 WL 834253, at *10; see also Exhibit

F at Section 9. It is likely that many Illinois resident class members would otherwise decide to

opt-out of a settlement that provides them with just $19 based on expected claims rates in other

major data privacy class action settlements (Litteken Obj. at 9) and proceed to individual

arbitration. These individuals would be deterred by both the low amount provided in the Proposed

Settlement and its burdensome opt-out requirements.

         Burdensome opt-out requirements like these are sufficient basis to deny a class action

settlement even at preliminary approval. See Intuit, 2021 WL 834253, at *10; Hadley v. Kellogg

Sales Co., 2020 WL 836673, at *8 (N.D. Cal. Feb. 20, 2020) (denying preliminary approval of

settlement in part based on opt-out procedure that was “needlessly burdensome for class members”

where class members who wish to opt-out must download a form from the website, complete it,

and mail back to the administrator); Newman v. AmeriCredit Fin. Servs. Inc., 2014 WL 12789177,

at *6 (S.D. Cal. Feb. 3, 2014) (denying preliminary approval because of opt-out mailing

requirement and limitation on ability for class members to opt-out as a group). At a minimum, the

Court should modify the Proposed Notice to permit the Arbitration Claimants to opt-out through

counsel, and to require TikTok to provide the rest of the class an electronic means to opt-out that

is functionally equivalent to the opt-in procedures. This procedure would guarantee that those


 See the Proposed Settlement Notice, Exhibit F at Section 8 (stating a claimant can “submit … a Claim Form
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Online”).
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class members that wish to participate in the Proposed Settlement may do so, while those who

wish to opt-out and exercise their rights under the Terms of Service to proceed in individual

arbitration may also do so with minimal burden.

                                           CONCLUSION

       This Court should deny preliminary approval of the Proposed Settlement because it is

invalidated by the FAA, is not fair, reasonable, or adequate for the Settlement Class, and violates

Due Process. If the Court prefers to modify the Proposed Settlement, it should exclude the

Arbitration Claimants or permit them to opt-out, through counsel, and pursue their rights under

Section 11 of the TikTok Terms of Service. Should the Preliminary Approval Order contain any

injunction against arbitrations, the Court should also decline to enter that order without explicitly

carving out arbitrations from its scope.


Dated: April 2, 2021
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